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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

   DALI WIRELESS, INC.,                        )
             Plaintiff,                        )
                                               )
         v.                                    )   Case No. 2:23-cv-00161-RWS-RSP
                                               )   (MEMBER CASE)
   AT&T CORP., AT&T COMMUNICATIONS             )
   LLC, AT&T MOBILITY, AT&T MOBILITY           )
   II LLC, AT&T SERVICES INC., ERICSSON        )
   INC., and TELEFONAKTIEBOLAGET LM            )
   ERICSSON,                                   )
                Defendants.                    )

   DALI WIRELESS, INC.,              )
             Plaintiff,              )
        v.                           )
                                     )             Case No. 2:22-cv-00012-RWS-RSP
   AT&T CORP., AT&T COMMUNICATIONS )               (LEAD CASE)
   LLC, AT&T MOBILITY, AT&T MOBILITY )
   II LLC, AT&T SERVICES INC.,       )
   COMMSCOPE HOLDING COMPANY,        )
   INC., COMMSCOPE INC., and         )
   COMMSCOPE TECHNOLOGIES LLC,       )
                Defendants.          )
                                     )
                                     )
     DALI WIRELESS, INC.,            )
                 Plaintiff,          )
                                     )             Case No. 2:23-cv-00002-RWS-RSP
            v.                       )
                                     )
    CELLCO PARTNERSHIP d/b/a         )
    VERIZON WIRELESS, VERIZON        )
    CORPORATE SERVICES GROUP INC.,   )
    VERIZON ONLINE LLC, COMMSCOPE    )
    HOLDING COMPANY, INC., COMMSCOPE )
    INC., and COMMSCOPE TECHNOLOGIES )
    LLC,                             )
                 Defendants.         )


                      JOINT CLAIM CONSTRUCTION CHART




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          Pursuant to Local Patent Rule 4-5(d) and the Fourth Amended Docket Control Order (Dkt.

  114) the parties respectfully submit this Joint Claim Construction Chart, which is attached as Exhibit

  A. Plaintiff Dali Wireless, Inc. (“Dali”) asserts claims 1-2 of United States Patent No. 8,682,338 (the

  “’338 Patent”), claims 1-3, 6-8, 12-14, 16-18, and 20 of United States Patent No. 11,026,232 (the

  “’232 Patent”) 1, claims 1-4, 8, 9, 10, 11, 13-15, 16, and 18-19 of United States Patent No. 10,334,499

  (the “’499 Patent”), and claims 7-9, 11, 15, 17, 18, 20, and 21 of United States Patent No. 9,197,358

  (the “’358 Patent”) against Defendants AT&T Corp., AT&T Communications LLC, AT&T

  Mobility, AT&T Mobility II LLC, and AT&T Services Inc. (collectively “AT&T”); claims 1-2 of

  the ’338 Patent, claims 1-3, 6-8 of the ’232 Patent, and claims 1-4, 8, 9, 10, 11, 13-15, 16, and 18-

  19 of the ’499 Patent against Defendants Ericsson Inc. and Telefonaktiebolaget LM Ericsson

  (collectively “Ericsson”); and claims 1-3, 6-8, 12-14, 16-18, and 20 of the ’232 Patent, claims 1-4,

  8, 9, 10, 11, 13-15, 16, and 18-19 of the ’499 Patent, and claims 7-9, 11, 15, 17, 18, 20, and 21 of

  the ’358 Patent against Defendants CommScope Holding Company, Inc., CommScope, Inc., and

  CommScope Technologies LLC (collectively “CommScope”). This Joint Claim Construction Chart

  sets forth thirteen disputed claim terms or phrases in the asserted claims, the parties’ proposed

  constructions (if any), and a separate column for the Court’s construction of the identified terms,

  phrases, or clauses in the asserted claims. Agreed constructions are set forth in the Joint Claim

  Construction Chart and marked as AGREED.




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   Dali has dropped its assertion of ’232 Patent claims 12-14, 16-18, and 20 against AT&T as related to the accused
  Ericsson products in an AT&T network.


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    Date: April 13, 2023            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that on April 13, 2023, a true and correct copy of

  the foregoing was served on all counsel of record who have appeared in this case via the Court’s

  CM/ECF system per Local Rule CV-5.


                                                      /s/ Cristofer Leffler
                                                      Cristofer I. Leffler




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